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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

_______________________________________
                                       :
UNITED STATES OF AMERICA,              :
                                       :             Criminal No. 99-285 (FSH)
            v.                         :
                                       :                     ORDER
DAMON CHESTNUT.                        :
                                       :
                  Defendant.           :
_______________________________________:


       This matter having come before the Court upon a written request from the U.S. Probation

Office (Patrick Hattersley, U.S. Probation Officer) to withdraw the petition for violation of

supervised release, and for good cause shown;

       IT IS on this 7th day of March 2011,

       ORDERED that the violation petition dated October 20, 2010 [Docket No. 183] is hereby

deemed WITHDRAWN; it is further

       ORDERED that the conditions of release set by Magistrate Judge Shipp on October 22, 2010

be removed.




                                                        s/ Faith S. Hochberg
                                                     United States District Judge
